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                        Exhibit B

                      Expense Detail
                      Case 20-10343-LSS        Doc 760-3      Filed 06/02/20   Page 2 of 11
 SIDLEY AUSTIN LLP


 Invoice Number: 40025364
 Boy Scouts of America

 Chapter 11 Matters


                                             EXPENSE DETAIL


Date                   Narrative                                                              Amount
02/19/20               02/18/20-Duplicating Charges (Color) Time: 17:59:00                      $5.80
02/19/20               02/18/20-Duplicating Charges (Color) Time: 18:00:00                       1.60
02/19/20               02/18/20-Duplicating Charges (Color) Time: 18:00:00                       0.70
02/19/20               02/18/20-Duplicating Charges (Color) Time: 18:00:00                       1.60
02/19/20               02/18/20-Duplicating Charges (Color) Time: 17:58:00                       5.80
02/19/20               02/18/20-Duplicating Charges (Color) Time: 17:59:00                       0.70
02/19/20               02/18/20-Duplicating Charges (Color) Time: 18:31:00                      10.40
02/19/20               02/18/20-Duplicating Charges (Color) Time: 15:48:00                       0.70
02/19/20               02/18/20-Duplicating Charges (Color) Time: 16:00:00                       0.20
02/19/20               02/18/20-Duplicating Charges (Color) Time: 9:55:00                        0.20
02/19/20               02/18/20-Duplicating Charges (Color) Time: 13:23:00                       0.10
02/19/20               02/18/20-Duplicating Charges (Color) Time: 13:21:00                       0.10
02/19/20               02/18/20-Duplicating Charges (Color) Time: 13:52:00                       0.30
02/19/20               02/18/20-Duplicating Charges (Color) Time: 13:23:00                       0.10
02/19/20               02/18/20-Duplicating Charges (Color) Time: 16:27:00                       0.20
02/20/20               02/18/20-Duplicating Charges (Color) Time: 18:46:00                       0.10
02/20/20               02/18/20-Duplicating Charges (Color) Time: 18:46:00                       0.60
02/20/20               02/18/20-Duplicating Charges (Color) Time: 18:35:00                       6.40
02/20/20               02/18/20-Duplicating Charges (Color) Time: 18:36:00                       0.30
02/20/20               02/18/20-Duplicating Charges (Color) Time: 18:44:00                       0.30
02/20/20               02/18/20-Duplicating Charges (Color) Time: 18:46:00                       0.30
02/20/20               02/18/20-Duplicating Charges (Color) Time: 21:56:00                       5.90
02/20/20               02/18/20-Duplicating Charges (Color) Time: 21:56:00                       5.90
02/20/20               02/18/20-Duplicating Charges (Color) Time: 18:36:00                       0.20
02/20/20               02/18/20-Duplicating Charges (Color) Time: 18:44:00                       0.60
02/20/20               02/18/20-Duplicating Charges (Color) Time: 18:44:00                       0.10
02/20/20               02/18/20-Duplicating Charges (Color) Time: 18:45:00                       0.20
02/20/20               02/18/20-Duplicating Charges (Color) Time: 20:59:00                       4.40
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 SIDLEY AUSTIN LLP


 Invoice Number: 40025364
 Boy Scouts of America

 Chapter 11 Matters

Date                   Narrative                                                                               Amount
02/20/20               02/19/20-Duplicating Charges (Color) Time: 12:39:00                                        4.40
02/21/20               02/20/20-Duplicating Charges (Color) Time: 8:21:00                                         0.20
02/21/20               02/20/20-Duplicating Charges (Color) Time: 8:41:00                                         4.90
02/22/20               02/21/20-Duplicating Charges (Color) Time: 14:48:00                                        0.60
02/22/20               02/21/20-Duplicating Charges (Color) Time: 14:49:00                                        1.10
02/23/20               02/22/20-Duplicating Charges (Color) Time: 13:50:00                                        0.50
02/23/20               02/22/20-Duplicating Charges (Color) Time: 13:47:00                                        0.50
02/23/20               02/22/20-Duplicating Charges (Color) Time: 13:58:00                                        0.40
02/23/20               02/22/20-Duplicating Charges (Color) Time: 18:04:00                                        0.50
02/24/20               02/16/20-02/18/20 New York to Delaware City - Feb 19, 2020 - Andres Barajas -              7.04
                       Taxi/Car Service from Wilmington hotel to train station on 2/19/20 in connection
                       with travel for preparation for filing Chapter 11 petitions and first day motions and
                       preparation for first day hearing
02/24/20               2/24/20 - Scanning, Printing & OCR - DTI TOPCO INC - M397942007370 -                     254.54
                       COLOR COPY
02/24/20               Scanning, Printing & OCR 2/24/20 - DTI TOPCO INC - M397942007373 - B&W                   119.66
                       COPY
02/24/20               02/16/20-02/18/20 New York to Delaware City - Feb 18, 2020 - Andres Barajas -            328.90
                       Lodging for one night in Wilmington on 2/18/20 includes $299 room rate, $23.92
                       State tax and $5.98 City tax in connection with travel for preparation for filing
                       Chapter 11 petitions and first day motions and preparation for first day hearing -
                       Boy Scouts of America - Hotel DuPont
02/24/20               02/16/20-02/18/20 New York to Delaware City - Feb 19, 2020 - Andres Barajas -            206.00
                       One way trainfare from Wilmington to NYC on 2/19/20 in connection with travel
                       for preparation for filing Chapter 11 petitions and first day motions and preparation
                       for first day hearing - Boy Scouts of America - Amtrak
02/25/20               02/24/20-Duplication charges Time: 14:12:00                                                0.60
02/25/20               02/24/20-Duplication charges Time: 14:11:00                                                1.40
02/25/20               02/24/20-Duplication charges Time: 14:11:00                                                1.00
02/25/20               02/24/20-Duplicating Charges (Color) Time: 15:48:00                                        0.10
02/25/20               02/16/20-02/20/20 Chicago to Philadelphia - Feb 20, 2020 - Blair M. Warner -              47.36
                       Taxi/Car Service from Wilmington hotel to Philadelphia airport on 2/20/20 in
                       connection with travel for BSA Chapter 11 case filing and first day hearing.
02/25/20               02/16/20-02/20/20 Chicago to Philadelphia - Feb 20, 2020 - Blair M. Warner -               9.41
                       Taxi/Car Service from O'Hare airport to residence on 2/20/20 in connection with
                       travel to BSA Chapter 11 case filing and first day hearing.
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 SIDLEY AUSTIN LLP


 Invoice Number: 40025364
 Boy Scouts of America

 Chapter 11 Matters

Date                   Narrative                                                                           Amount
02/25/20               02/16/20-02/20/20 Chicago to Philadelphia - Feb 18, 2020 - Blair M. Warner -           9.50
                       Meals Other - Late afternoon snack and beverage for two attendees in Wilmington
                       (in lieu of lunch) on 2/18/20 in connection with travel for BSA Chapter 11 case
                       filing and first day hearing - (attendees include B. Warner and K. Basaria)
02/25/20               02/16/20-02/20/20 Chicago to Philadelphia - Feb 18, 2020 - Blair M. Warner -          13.50
                       Hotel - Late night convenience snacks and beverage for one attendee at Wilmington
                       hotel on 2/18/20 (in lieu of dinner) in connection with travel for BSA Chapter 11
                       case filing and first day hearing. - Hotel DuPont
02/25/20               02/16/20-02/20/20 Chicago to Philadelphia - Feb 19, 2020 - Blair M. Warner -         328.90
                       Lodging for one night in Wilimington on 2/18/20 includes $299 room rate, $23.92
                       State tax and $5.98 City tax in connection with travel for BSA Chapter 11 case
                       filing and first day hearing. - Hotel DuPont
02/25/20               02/16/20-02/20/20 Chicago to Philadelphia - Feb 20, 2020 - Blair M. Warner -         328.90
                       Lodging for one night in Wilmington on 2/19/20 includes $299 room rate, $23.92
                       State tax and $5.98 City tax in connection with travel for BSA Chapter 11 case
                       filing and first day hearing. - Hotel DuPont
02/26/20               02/25/20-Duplicating Charges (Color) Time: 18:30:00                                    0.10
02/26/20               02/25/20-Duplicating Charges (Color) Time: 18:11:00                                    0.80
02/26/20               02/25/20-Duplicating Charges (Color) Time: 18:31:00                                    0.50
02/26/20               02/25/20-Duplicating Charges (Color) Time: 18:13:00                                    0.10
02/26/20               02/25/20-Duplicating Charges (Color) Time: 18:15:00                                    0.10
02/26/20               02/25/20-Duplicating Charges (Color) Time: 18:16:00                                    0.10
02/26/20               02/25/20-Duplicating Charges (Color) Time: 18:18:00                                    1.10
02/26/20               02/25/20-Duplicating Charges (Color) Time: 18:14:00                                    0.20
02/26/20               02/25/20-Duplicating Charges (Color) Time: 18:17:00                                    2.00
02/26/20               02/25/20-Duplicating Charges (Color) Time: 18:14:00                                    0.10
02/26/20               02/25/20-Duplicating Charges (Color) Time: 18:17:00                                    6.60
02/26/20               02/25/20-Duplicating Charges (Color) Time: 10:02:00                                    0.70
02/26/20               02/25/20-Duplicating Charges (Color) Time: 9:58:00                                     0.70
02/26/20               Messenger Services ON TIME COURIERS INC - 311367 - MESSENGER                          49.22
                       SERVICES - MONICA BLACKER
02/27/20               02/25/20-Duplicating Charges (Color) Time: 21:50:00                                    1.50
02/27/20               02/25/20-Duplicating Charges (Color) Time: 21:50:00                                    1.50
02/27/20               02/25/20-Duplicating Charges (Color) Time: 21:06:00                                    0.20
02/27/20               02/25/20-Duplicating Charges (Color) Time: 21:42:00                                    0.10
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 SIDLEY AUSTIN LLP


 Invoice Number: 40025364
 Boy Scouts of America

 Chapter 11 Matters

Date                   Narrative                                                                             Amount
02/27/20               02/25/20-Duplicating Charges (Color) Time: 18:35:00                                      0.20
02/27/20               02/25/20-Duplicating Charges (Color) Time: 18:36:00                                      0.10
02/27/20               02/25/20-Duplicating Charges (Color) Time: 21:49:00                                      2.30
02/27/20               02/25/20-Duplicating Charges (Color) Time: 18:40:00                                      0.10
02/27/20               02/25/20-Duplicating Charges (Color) Time: 21:50:00                                      2.30
02/27/20               02/25/20-Duplicating Charges (Color) Time: 21:06:00                                      0.10
02/27/20               02/25/20-Duplicating Charges (Color) Time: 21:42:00                                      0.10
02/27/20               02/25/20-Duplicating Charges (Color) Time: 21:42:00                                      0.10
02/27/20               02/26/20-Duplicating Charges (Color) Time: 8:52:00                                       0.40
02/27/20               02/26/20-Duplicating Charges (Color) Time: 8:49:00                                       0.20
02/27/20               02/26/20-Duplicating Charges (Color) Time: 17:02:00                                      0.20
02/27/20               02/26/20-Duplicating Charges (Color) Time: 11:35:00                                      0.80
02/27/20               02/17/20-02/20/20 Chicago to New York City - Feb 18, 2020 - Thomas A. Labuda,           26.98
                       Jr. - Taxi/Car Service from NY hotel to train station on 2/18/20 in connection with
                       travel to New York and Delaware for Board Meeting and First Day Hearings
02/27/20               02/17/20-02/20/20 Chicago to New York City - Feb 20, 2020 - Thomas A. Labuda,          100.00
                       Jr. - Parking at O'Hare airport in connection with travel to New York and Delaware
                       for Board Meeting and First Day Hearings - (Charge has been reduced to only
                       reflect parking after the petition date of 2/18/20)
02/27/20               02/17/20-02/20/20 Chicago to New York City - Feb 18, 2020 - Thomas A. Labuda,           45.00
                       Jr. - Hotel - Dinner for one attendee at Wilmington hotel on 2/18/20 in connection
                       with travel to New York and Delaware for Board Meeting and First Day Hearings -
                       Hotel DuPont
02/27/20               02/17/20-02/20/20 Chicago to New York City - Feb 20, 2020 - Thomas A. Labuda,          372.90
                       Jr. - Lodging for one night at Wilmington hotel on 2/19/20 includes $339 room rate,
                       $27.12 State tax and $6.78 City tax in connection with travel to New York and
                       Delaware for Board Meeting and First Day Hearings - Hotel DuPont
02/27/20               02/17/20-02/20/20 Chicago to New York City - Feb 20, 2020 - Thomas A. Labuda,           11.99
                       Jr. - Internet airline service charge to work while flying on 2/20/20 in connection
                       with travel to New York and Delaware for Board Meeting and First Day Hearings
02/27/20               02/17/20-02/20/20 Chicago to New York City - Feb 18, 2020 - Thomas A. Labuda,            4.00
                       Jr. - Lodging - Hotel room charge in Wilmington for soft drink beverage with
                       dinner for one attendee on 2/18/20 in connection with travel to New York and
                       Delaware for Board Meeting and First Day Hearings - Hotel DuPont
02/27/20               02/17/20-02/20/20 Chicago to New York City - Feb 20, 2020 - Thomas A. Labuda,          328.90
                       Jr. - Lodging for one night in Wilimgton hotel on 2/18/20 includes $299 room rate,
                       $23.92 State tax and $5.98 City tax in connection with travel to New York and
                       Delaware for Board Meeting and First Day Hearings - Hotel DuPont
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 SIDLEY AUSTIN LLP


 Invoice Number: 40025364
 Boy Scouts of America

 Chapter 11 Matters

Date                   Narrative                                                                             Amount
02/28/20               02/26/20-Duplicating Charges (Color) Time: 21:32:00                                       0.50
02/28/20               02/26/20-Duplicating Charges (Color) Time: 21:31:00                                       0.40
02/28/20               02/27/20-Duplicating Charges (Color) Time: 14:42:00                                       0.70
02/28/20               02/27/20-Duplicating Charges (Color) Time: 14:21:00                                       0.50
02/28/20               02/27/20-Duplicating Charges (Color) Time: 15:40:00                                       0.20
02/29/20               02/29/20-Duplicating Charges (Color) Time: 15:04:00                                       0.90
03/02/20               Professional Services/Specialists 2/26/20 - MERRILL COMMUNICATIONS LLC                3,895.00
                       - 2481465 - PAGES IN WAREHOUSING
03/03/20               03/02/20-Duplicating Charges (Color) Time: 8:41:00                                        0.20
03/03/20               03/02/20-Duplicating Charges (Color) Time: 8:29:00                                        0.20
03/03/20               03/02/20-Duplicating Charges (Color) Time: 14:56:00                                       3.80
03/03/20               03/02/20-Duplicating Charges (Color) Time: 8:29:00                                        0.10
03/03/20               03/02/20-Duplicating Charges (Color) Time: 8:05:00                                        0.30
03/03/20               03/02/20-Duplicating Charges (Color) Time: 15:32:00                                       0.90
03/03/20               03/02/20-Duplicating Charges (Color) Time: 15:53:00                                       1.70
03/03/20               03/02/20-Duplicating Charges (Color) Time: 16:13:00                                       1.70
03/03/20               03/02/20-Duplicating Charges (Color) Time: 16:14:00                                       0.50
03/03/20               03/02/20-Duplicating Charges (Color) Time: 15:30:00                                       0.40
03/03/20               03/02/20-Duplicating Charges (Color) Time: 15:29:00                                       0.40
03/03/20               03/02/20-Duplicating Charges (Color) Time: 14:04:00                                       1.00
03/04/20               02/16/20-03/19/20 Chicago to Wilmington - Feb 10, 2020 - Matthew E. Linder -           352.05
                       One way economy airfare from Philadelphia to Chicago on 2/19/20 in connection
                       with travel for Boy Scouts of America chapter 11 filing and first- day hearing -
                       United Airlines
03/04/20               03/03/20-Duplicating Charges (Color) Time: 9:18:00                                        0.20
03/04/20               02/16/20-03/19/20 Chicago to Wilmington - Feb 19, 2020 - Matthew E. Linder -            73.01
                       Taxi/Car Service from Wilmington to Philadelphia airport on 2/19/20 in connection
                       with travel for Boy Scouts of America chapter 11 filing and first-day hearing
03/04/20               02/16/20-03/19/20 Chicago to Wilmington - Feb 19, 2020 - Matthew E. Linder -            91.63
                       Taxi/Car Service from O'Hare airport to residence on 2/19/20 in connection with
                       travel for Boy Scouts of America chapter 11 filing and first-day hearing
03/04/20               02/16/20-03/19/20 Chicago to Wilmington - Feb 19, 2020 - Matthew E. Linder -              3.49
                       Meals Other - Convenience water at Philadelphia airport prior to boarding plane for
                       one attendee on 2/19/20 in connection with travel for Boy Scouts of America
                       chapter 11 filing and first-day hearing
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 Invoice Number: 40025364
 Boy Scouts of America

 Chapter 11 Matters

Date                   Narrative                                                                            Amount
03/04/20               02/16/20-03/19/20 Chicago to Wilmington - Feb 18, 2020 - Matthew E. Linder -            2.59
                       Breakfast for one attendee in Wilmington on 2/18/20 in connection with travel for
                       Boy Scouts of America chapter 11 filing and first-day hearing
03/04/20               02/16/20-03/19/20 Chicago to Wilmington - Feb 19, 2020 - Matthew E. Linder -          328.90
                       Lodging for one night in Wilmington on 2/18/20 includes $299 room rate, $23.92
                       State tax and $5.98 City tax in connection with travel for Boy Scouts of America
                       chapter 11 filing and first-day hearing - Hotel DuPont
03/04/20               02/16/20-03/19/20 Chicago to Wilmington - Feb 19, 2020 - Matthew E. Linder -           11.99
                       Internet airline service charge to work while flying on 2/19/20 in connection with
                       travel for Boy Scouts of America chapter 11 filing and first-day hearing
03/04/20               02/23/20-02/26/20 Chicago to Salt Lake City - Feb 23, 2020 - Matthew E. Linder -       11.99
                       Internet airline service charge to work while flying on 2/23/20 in connection with
                       travel for Boy Scouts of America chapter 11 first and second day motions
03/04/20               02/23/20-02/26/20 Chicago to Salt Lake City - Feb 26, 2020 - Matthew E. Linder -       10.99
                       Internet airline service charge to work while flying on 2/26/20 in connection with
                       travel for Boy Scouts of America chapter 11 first and second day motions
03/05/20               03/04/20-Duplicating Charges (Color) Time: 8:25:00                                      0.20
03/05/20               03/04/20-Duplicating Charges (Color) Time: 16:54:00                                     0.40
03/06/20               03/05/20-Duplicating Charges (Color) Time: 8:42:00                                      0.40
03/06/20               03/05/20-Duplicating Charges (Color) Time: 16:34:00                                     0.40
03/07/20               03/06/20-Duplicating Charges (Color) Time: 11:19:00                                     0.60
03/07/20               03/06/20-Duplicating Charges (Color) Time: 11:21:00                                     0.70
03/07/20               03/06/20-Duplicating Charges (Color) Time: 11:21:00                                     0.50
03/07/20               03/06/20-Duplicating Charges (Color) Time: 14:59:00                                     0.50
03/07/20               03/06/20-Duplicating Charges (Color) Time: 11:18:00                                     0.60
03/07/20               03/06/20-Duplicating Charges (Color) Time: 11:20:00                                     0.60
03/07/20               03/06/20-Duplicating Charges (Color) Time: 11:20:00                                     0.70
03/07/20               02/27/20- Federal Express Corporation- TR #117602769948 AVAIS IKRAM                    12.04
                       PRICEWATERHOUSECOOPERS LLP 2121 N PEARL ST DALLAS, TX 75201
03/09/20               03/03/20-03/03/20 New York to Wilmington - Mar 03, 2020 - Jessica C. K. Boelter        15.00
                       - Taxi/Car Service from residence to train station on 3/3/20 in connection with
                       travel to attend Initial Debtor Interview
03/09/20               03/03/20-03/03/20 New York to Wilmington - Mar 03, 2020 - Jessica C. K. Boelter         7.74
                       - Taxi/Car Service from meeting to Wilmington train station on 3/3/20 in
                       connection with travel to attend Initial Debtor Interview
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 Invoice Number: 40025364
 Boy Scouts of America

 Chapter 11 Matters

Date                   Narrative                                                                              Amount
03/09/20               03/03/20-03/03/20 New York to Wilmington - Mar 03, 2020 - Jessica C. K. Boelter          31.28
                       - Taxi/Car Service from train station to residence on 3/3/20 in connection with
                       travel to attend Initial Debtor Interview
03/09/20               03/03/20-03/03/20 New York to Wilmington - Mar 02, 2020 - Jessica C. K. Boelter         137.00
                       - Train - One way trainfare from NY to Wilmington on 3/3/20 in connection with
                       travel to attend Initial Debtor Interview; NY to Wilmington; this is the cost of a
                       business class ticket - Amtrak
03/09/20               03/03/20-03/03/20 New York to Wilmington - Mar 03, 2020 - Jessica C. K. Boelter         201.00
                       - Train - One way train ticket from Wilmington to NY on 3/3/20 in connection with
                       travel to attend Initial Debtor Interview; Wilmington to NY; this is the cost of a
                       business class ticket - Amtrak
03/11/20               02/16/20-02/19/20 Chicago to New Philadelphia - Feb 11, 2020 - Karim Basaria -          403.98
                       One way economy airfare (half of roundtrip airfare between Chicago and
                       Philadelphia) in connection with trip to Philadelphia for hearing re: Boy Scouts of
                       America - Southwest Airlines
03/11/20               03/10/20-Duplicating Charges (Color) Time: 15:41:00                                       0.40
03/11/20               02/16/20-02/19/20 Chicago to New Philadelphia - Feb 19, 2020 - Karim Basaria -           34.46
                       Taxi/Car Service from Chicago airport to residence on 2/19/20 in connection with
                       trip to Philadelphia for hearing re: Boy Scouts of America
03/11/20               02/16/20-02/19/20 Chicago to New Philadelphia - Feb 19, 2020 - Karim Basaria -           47.97
                       Dinner for two attendees at Philadelphia airport on 2/19/20 in connection with trip
                       to Philadelphia for hearing re: Boy Scouts of America - (attendees include K.
                       Basaria and B. Braun)
03/11/20               01/30/20-Telephone Charges Conference Call                                                0.06
03/11/20               01/09/20-Telephone Charges Conference Call                                                0.42
03/11/20               02/16/20-02/19/20 Chicago to New Philadelphia - Feb 19, 2020 - Karim Basaria -          328.90
                       Lodging for one night in Wilimingon on 2/18/19 includes $299 room rate, $23.92
                       State tax and $5.98 City tax in connection with trip to Philadelphia for hearing re:
                       Boy Scouts of America - Hotel DuPont
03/11/20               03/04/20-03/09/20 Chicago to West Palm Beach - Mar 04, 2020 - Matthew E.                  9.99
                       Linder - Internet airline service charge to work while flying on 3/4/20 for BSA
                       motions and client communications
03/11/20               03/04/20-03/09/20 Chicago to West Palm Beach - Mar 09, 2020 - Matthew E.                  9.99
                       Linder - Internet airline service charge to work while flying on 3/9/20 for BSA
                       motions and client communications
03/13/20               03/12/20-Duplicating Charges (Color) Time: 13:04:00                                       0.50
03/13/20               03/12/20-Duplicating Charges (Color) Time: 10:30:00                                       5.10
03/13/20               03/12/20-Duplicating Charges (Color) Time: 10:39:00                                       5.30
03/13/20               03/12/20-Duplicating Charges (Color) Time: 10:42:00                                       5.10
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 Invoice Number: 40025364
 Boy Scouts of America

 Chapter 11 Matters

Date                   Narrative                                                               Amount
03/13/20               03/12/20-Duplicating Charges (Color) Time: 10:31:00                         0.50
03/13/20               03/12/20-Duplicating Charges (Color) Time: 10:27:00                         5.20
03/13/20               03/12/20-Duplicating Charges (Color) Time: 13:02:00                         0.50
03/13/20               03/12/20-Duplicating Charges (Color) Time: 10:29:00                         0.20
03/13/20               03/12/20-Duplicating Charges (Color) Time: 11:36:00                         0.30
03/13/20               03/12/20-Duplicating Charges (Color) Time: 11:55:00                         5.20
03/13/20               03/06/20-US Messenger-2462.03062 Thomas Labuda                            29.13
03/14/20               03/13/20-Duplicating Charges (Color) Time: 18:24:00                         0.30
03/18/20               Court Reporter RELIABLE COMPANIES                                         38.40
03/25/20               03/06/20- Federal Express Corporation- TR #117602771960 KIRK ZAMBETTI     12.10
                       YETI COOLERS LLC 5301 SOUTHWEST PARKWAY AUSTIN, TX 78735
03/26/20               02/24/20-Westlaw research service                                         39.85
03/26/20               02/25/20-Westlaw research service                                        199.25
03/26/20               02/25/20-Westlaw research service                                         93.41
03/26/20               02/27/20-Westlaw research service                                        187.04
03/26/20               02/18/20-Westlaw research service                                        233.54
03/26/20               02/28/20-Westlaw research service                                         58.79
03/26/20               02/28/20-Westlaw research service                                        229.95
03/26/20               02/18/20-Westlaw research service                                        717.28
03/26/20               02/18/20-Westlaw research service                                        467.07
03/26/20               02/19/20-Westlaw research service                                        677.43
03/26/20               02/19/20-Westlaw research service                                        653.91
03/26/20               02/20/20-Westlaw research service                                        539.59
03/26/20               02/20/20-Westlaw research service                                       2,755.74
03/26/20               02/21/20-Westlaw research service                                         79.70
03/26/20               02/21/20-Westlaw research service                                        420.37
03/26/20               02/23/20-Westlaw research service                                        199.25
03/26/20               02/23/20-Westlaw research service                                       1,120.98
03/26/20               02/24/20-Westlaw research service                                       1,226.16
03/26/20               02/24/20-Westlaw research service                                        794.03
03/26/20               02/25/20-Westlaw research service                                        478.18
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 SIDLEY AUSTIN LLP


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Date                   Narrative                                                             Amount
03/26/20               02/25/20-Westlaw research service                                     1,961.71
03/26/20               02/27/20-Westlaw research service                                      588.59
03/26/20               02/27/20-Westlaw research service                                      980.86
03/26/20               02/25/20-Westlaw research service                                       79.79
03/26/20               02/25/20-Westlaw research service                                      561.13
03/26/20               02/26/20-Westlaw research service                                       93.52
03/26/20               02/19/20-Westlaw research service                                      732.00
03/26/20               02/19/20-Westlaw research service                                       42.90
03/26/20               02/19/20-Westlaw research service                                       86.65
03/26/20               02/20/20-Westlaw research service                                       93.52
03/26/20               02/20/20-Westlaw research service                                      379.64
03/26/20               02/18/20-Westlaw research service                                      373.66
03/26/20               02/19/20-Westlaw research service                                      420.37
03/26/20               02/18/20-Westlaw research service                                      423.79
03/26/20               02/18/20-Westlaw research service                                      140.28
03/26/20               02/20/20-Westlaw research service                                      140.28
03/26/20               02/23/20-Westlaw research service                                       46.76
03/26/20               02/24/20-Westlaw research service                                       39.89
03/26/20               02/24/20-Westlaw research service                                       93.52
03/27/20               02/04/20-Telephone Charges Conference Call                                1.23
03/27/20               02/28/20-Telephone Charges Conference Call                                0.77
03/27/20               02/25/20-Telephone Charges Conference Call                                2.71
03/27/20               02/27/20-Telephone Charges Conference Call                                2.02
03/27/20               02/26/20-Telephone Charges Conference Call                                0.60
03/27/20               02/27/20-Telephone Charges Conference Call                                3.22
03/27/20               02/21/20-Telephone Charges Conference Call                                3.38
03/27/20               02/20/20-Telephone Charges Conference Call                                0.10
03/27/20               02/24/20-Telephone Charges Conference Call                                1.13
03/27/20               02/24/20-Telephone Charges Conference Call                                8.09
03/27/20               02/24/20-Telephone Charges Conference Call                                5.22
03/27/20               02/25/20-Telephone Charges Conference Call                                5.24
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 SIDLEY AUSTIN LLP


 Invoice Number: 40025364
 Boy Scouts of America

 Chapter 11 Matters

Date                   Narrative                                                                      Amount
03/27/20               03/03/20-Westlaw research service                                                70.55
03/27/20               03/04/20-Westlaw research service                                               140.12
03/27/20               03/05/20-Westlaw research service                                                93.41
03/27/20               03/06/20-Westlaw research service                                               233.54
03/27/20               03/14/20-Westlaw research service                                               280.57
03/27/20               03/02/20-Westlaw research service                                               107.48
03/27/20               03/02/20-Westlaw research service                                                45.47
03/27/20               03/02/20-Westlaw research service                                               199.25
03/27/20               03/02/20-Westlaw research service                                              1,307.81
03/27/20               03/02/20-Westlaw research service                                               112.36
03/27/20               03/04/20-Westlaw research service                                               239.09
03/27/20               03/04/20-Westlaw research service                                               186.83
03/27/20               03/05/20-Westlaw research service                                                39.85
03/27/20               03/05/20-Westlaw research service                                                46.71
03/27/20               03/06/20-Westlaw research service                                                79.70
03/27/20               03/06/20-Westlaw research service                                               186.83
03/27/20               03/07/20-Westlaw research service                                               199.25
03/27/20               03/07/20-Westlaw research service                                                46.71
03/27/20               03/08/20-Westlaw research service                                                79.70
03/27/20               03/10/20-Westlaw research service                                                46.71
03/27/20               03/11/20-Westlaw research service                                               478.18
03/27/20               03/11/20-Westlaw research service                                               794.03
03/27/20               03/13/20-Westlaw research service                                               239.09
03/27/20               03/13/20-Westlaw research service                                               326.95
03/27/20               03/06/20-Westlaw research service                                                45.73
03/27/20               03/07/20-Westlaw research service                                               186.83
03/27/20               03/08/20-Westlaw research service                                                93.41
03/27/20               03/10/20-Westlaw research service                                               140.28
                                                                                            Total   $33,366.43
